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UNITED STATES DISTRICT COURT FOR THE
DISTRICT OF NEW JERSEY
---------------------------------------------------------------------X
ALLISON MARIE KYLE, as guardian ad litem
for her daughter E.K.L. who is suing as Plaintiff                         Civil Action No.
on behalf of herself and all others similarly situated,
                                                                          AFFIDAVIT PRO HAC
                  -against-                                               VICE APPLICANT

SELECTIVE SERVICE SYSTEM,
DIRECTOR OF SELECTIVE SERVICE,
     LAWRENCE G. ROMO, in his official capacity,

         Defendants.
----------------------------------------------------------------------X

STATE OF NEW YORK  )
                   ) ss:
COUNTY OF NEW YORK )

ROY DEN HOLLANDER, being duly sworn, deposes and says:

     1. The guardian ad litem has agreed that I will represent her and her daughter pro bono in a

civil rights class action challenging the Selective Service Act that prohibits females from

registering for the military draft.

     2. The guardian ad litem and her daughter the plaintiff in interest are residents ofMorris

County in New Jersey and the residency for the Selective Service is Arlington, Virginia.

     3. Since I am an attorney located in New York City and the guardian ad litem and the

plaintiff in interest are located in New Jersey, the logical choice ofvenue is New Jersey.

     4. I have practiced law as a civil litigator for over 25 years and was formerly an associate at

 Cravath, Swaine & Moore in that firm's litigation department.

     5. In 1987, I was admitted to practice in the Appellate Division, First Judicial Department of

 the New York State Supreme Court. A certificate of good standing is attached as Exhibit A.
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   6.      In 2002, I was admitted to practice before the U.S. District Court for the Southern

District ofN. Y. A certificate of good standing is attached as Exhibit B.

   7. In 2002, I was admitted to practice before the U.S. District Court for the Eastern District

of N.Y. A certificate of good standing is attached as Exhibit C.

       8. In 2007, I was admitted to practice before the U.S. Court of Appeals for the Second

Circuit. A certificate of good standing is attached as Exhibit D.

       9. In 2009, I was admitted to practice before the U.S. Supreme Court. A certificate of good

standing is attached as Exhibit E.

       10. I am a member in good standing in each ofthe courts listed above. There are no

disciplinary proceedings pending against me in any jurisdiction and no discipline has previously

been imposed on me in any jurisdiction.


                                                                Roy en Hollander, Esq.
                                                                Attorney at Law
                                                                545 East 14 Street, 1OD
                                                                New York, N.Y. 10009
                                                                (917) 687 0652
                                                                rdenhollander97 @gsb.columbia. edu
Sworn to before me on the
I..S
   day ofMay 2015




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